     Case 8:21-cv-00846-GLS-DJS Document 1 Filed 07/27/21 Page 1 of 13




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


Carol Patnode, as Executrix of the Estate of
Brandy Patnode-Michener and James Michener,
                                                        COMPLAINT
                 Plaintiffs,
                                                        Civil Action No: 8:21-cv-00846 (GLS/ DJS)
      vs.

United States of America,

                 Defendant.




Plaintiffs, Carol Patnode, as administrator of the Estate of Brandy Patnode-Michener and

James Michener by and through their attorneys, Powers & Santola, LLP, as and for a

Complaint against the defendant, United States of America, allege that at all times

hereinafter mentioned:

                                   INTRODUCTION

1.    This is an action against the Defendant, United States of America, under the

      Federal Tort Claims Act, (28 U.S.C. §2671, et seq.) and 28 U.S.C. §1346(b)(1), for

      negligence, medical malpractice and wrongful death in connection with the medical

      care provided to plaintiffs' decedent Brandy Patnode-Michener, by medical

      providers at Hudson Headwaters Health Network at the Moriah Health Center

      located at 33 Tom Phelps Lane, Mineville, New York.

2.    The claims herein are brought against the defendant pursuant to the Federal Tort

      Claims Act (28 U.S.C. §2671, et seq.) and 28 U.S.C. §1346(b)(1), for money

      damages as compensation for personal injuries caused by the defendant's
     Case 8:21-cv-00846-GLS-DJS Document 1 Filed 07/27/21 Page 2 of 13




     negligence.

3.   Plaintiffs have fully complied with the provisions of 28 U.S.C. §2675 of the Federal

     Tart Claims Act.

4.   On April 17, 2020, plaintiff James Michener and plaintiff's decedent Brandy

     Patnode-Michener, filed a form 95, Claim for Injury, Damage or Death with the

     United   States    Department of HHS-Office of the         General   Counsel,   200

     Independence Ave. S.W., Washington, D.C. 20201, by certified mail, which claim

     was acknowledged to have been received by the agency's Counsel. A copy of

     plaintiffs' Standard Form 95, without medical records, is attached as Exhibits 1 and

     2 and are incorporated herein.

5.   Following the death of plaintiffs' decedent Brandy Patnode-Michener, on May 28,

     2020, the plaintiffs, Carol Patnode as Executrix of the Estate of Brandy Patnode-

     Michener, and James Michener filed an amended form 95, Claim for Injury,

     Damage or Death with the United States Department of HHS-Office of the General

     Counsel, 200 Independence Ave. S.W., Washington, D.C. 20201, on September

     30, 2020, by certified mail, which claim was acknowledged to have been received

     by the agency's Counsel. A copy of plaintiffs' Amended Standard Form 95, without

     medical records, is attached as Exhibits 3 and 4 and are incorporated herein.

6.   On February 17, 2021, the claims of plaintiffs, Carol Patnode as Executrix of the

     Estate and of Brandy Patnode-Michener and James Michener against the United

     States of America were denied and as such plaintiffs bring this Complaint. The

     correspondence detailing the denial is attached as Exhibit 5.




                                           2
      Case 8:21-cv-00846-GLS-DJS Document 1 Filed 07/27/21 Page 3 of 13




7.    James Michener was and is a resident of the town of Moriah, County of Essex and

      State of New York.

8.    James Michener was the lawful husband of the plaintiffs' decedent, Brandy

      Patnode-Michener.

9.    Brandy Patnode-Michener died on May 28, 2020 in a private residence in the Town

      of Moriah, New York.

10.   At the time of her death, Brandy Patnode-Michener was a resident of the Town of

      Moriah, New York, County of Essex, State of New York.

11.   Carol Patnode is the mother of plaintiffs' decedent, Brandy Patnode-Michener.

12.   Carol Patnode was and is a resident of the Town of Crown Point, County of Essex

      and State of New York.

13.   On the 29th day of July, 2020, by a Decree of the Essex County Surrogate Court,

      Carol Patnode was issued Letters Testamentary for the Estate of Brandy Patnode-

      Michener.

14.   The aforementioned Letters Testamentary remain in full force and effect.

15.   Defendant, United States of America, through its agency, the Department of Health

      and Human Services, provides financial resources to the Hudson Headwaters

      Health Network at the Moriah Health Center located at 33 Tom Phelps Lane,

      Mineville, New York.

16.   Hudson Headwaters Health Network and the Moriah Health Center, was and is a

      health care facility that held itself out to the plaintiffs' decedent as a provider of high-

      quality health care services, with the expertise necessary to maintain the health and

      safety of patients like the plaintiffs' decedent.




                                               3
      Case 8:21-cv-00846-GLS-DJS Document 1 Filed 07/27/21 Page 4 of 13




17.   At all times relevant to this Complaint, the directors, officers, operators,

      administrators, employees, physicians, physician assistants, agents, and staff of

      Hudson Headwaters Health Network and Moriah Health Center, located at 33 Tom

      Phelps Lane, Mineville, New York, were employed by and/or acting on behalf of the

      Defendant, United States of America.

18.   At all times relevant to this Complaint, Christopher Wolfe RPA-C, was a practicing

      physician assistant, licensed to practice medicine in the State of New York.

19.   At all times relevant to this Complaint, including September 9, 2014 until March 23,

      2017, Christopher Wolfe RPA-C, was an employee of the defendant, United States

      of America.

20.   At all times relevant to this Complaint, Christopher Wolfe RPA-C, was acting within

      the scope of his employment and agency as an employee of the defendant, United

      States of America.

21.   At all times relevant to this Complaint, including September 9, 2014 until March 23,

      2017, Christopher Wolfe RPA-C, was an employee of the Moriah Health Center.

22.   At all times relevant to this Complaint, Christopher Wolfe RPA-C was acting within

      the scope of his employment and agency as an employee of the Moriah Health

      Center.

23.   At all times relevant to this Complaint, Christopher Wolfe RPA-C, held himself out

      to the plaintiffs' decedent, Brandy Patnode-Michener, as being a physician

      assistant who was competent and qualified in the field of family medicine.

24.   At all times relevant to this Complaint, Richard McKeever, M.D., was a practicing

      physician, licensed to practice medicine in the State of New York.




                                             4
      Case 8:21-cv-00846-GLS-DJS Document 1 Filed 07/27/21 Page 5 of 13




25.   At all times relevant to this Complaint, including September 9, 2014 until March 23,

      2017, Richard McKeever, M.D., was an employee of the defendant, United States

      of America.

26.   At all times relevant to this Complaint, Richard McKeever, M.D., was acting within

      the scope of his employment and agency as an employee of the defendant, United

      States of America.

27.   At all times relevant to this Complaint, including September 9, 2014 until March 23,

      2017, Richard McKeever, M.D., was an employee of the Moriah Health Center.

28.   At all times relevant to this Complaint, Richard McKeever, M.D., was acting within

      the scope of his employment and agency as an employee of the Moriah Health

      Center.

29.   At all times relevant to this Complaint, Richard McKeever, M.D., held himself out to

      the plaintiffs' decedent Brandy Patnode-Michener, as being a physician who was

      competent and qualified in the field of family medicine.

30.   The plaintiffs' decedent Brandy Patnode-Michener, received medical care,

      treatment, examinations, diagnostic testing and/or other medical procedures

      commencing on or about August 6, 2009, and continuing through at least March 23,

      2017, at the Moriah Health Center in a continuing course of treatment.

31.   Jurisdiction is proper under 28 U.S.C. §1346(b)(1).

32.   Venue is proper under 28 USC §1402(b) in that the acts and omissions forming the

      basis of these claims occurred in the Northern District of New York.

                               FACTUAL ALLEGATIONS




                                             5
      Case 8:21-cv-00846-GLS-DJS Document 1 Filed 07/27/21 Page 6 of 13




33.   On or about September 9, 2014, Brandy Patnode-Michener came under the

      medical care and treatment of defendants, their agents, servants, employees,

      associates, subcontractors and/or other designees, including, Christopher Wolfe

      RPA-C and Richard McKeever, M.D., after presenting herself with a chief

      complaint of abdominal pain.

34.   At the direction of Christopher Wolfe RPA-C and Richard McKeever, M.D., she

      was sent to Elizabethtown Community Hospital in Elizabethtown, New York,

      wherein plaintiffs' decedent, Brandy Patnode-Michener underwent an abdominal

      CT scan performed at Elizabethtown Community Hospital.

35.   The CT scan was reported by a radiologist at Elizabethtown Community Hospital

      as follows: "There is a nodular soft tissue density in the left lower lobe.     It

      measures 1.7 cm."      She was then transferred to the University of Vermont

      Medical Center (formerly Fletcher Allen Health Care) in Burlington Vermont. The

      CT scan underwent a second read by a radiologist at the University of Vermont

      Medical Center who reported as follows: "Left lower lobe nodule stable since

      2012. In the appropriate clinical context dedicated chest CT could be considered

      for more complete evaluation".     On or about September 13, 2014, Brandy

      Patnode-Michener was discharged from the University of Vermont Medical

      Center.   The discharge summary repeated the findings of the radiologist as

      follows: "Left lower lobe nodule stable since 2012.   In the appropriate clinical

      context dedicated chest CT could be considered for more complete evaluation".

36.   Following plaintiffs' decedent's discharge from the University of Vermont Medical

      Center, on October 10, 2014, she presented to Hudson Headwaters Health




                                          6
      Case 8:21-cv-00846-GLS-DJS Document 1 Filed 07/27/21 Page 7 of 13




      Network and was evaluated by Christopher Wolfe RPA-C and Richard

      McKeever, M.D., for a physical evaluation. Christopher Wolfe RPA-C dictated in

      his office note that the following document was reviewed: "Admission/discharge

      Summary - Fletcher Allen Health Care - 9/13/14."

37.   During this physical evaluation, plaintiffs' decedent, Brandy Patnode-Michener

      was not informed that she had a lung nodule and nothing was done to evaluate

      the lung nodule by Christopher Wolfe RPA-C and/or Richard McKeever, M.D.

38.   Plaintiffs' decedent, Brandy Patnode-Michener continued to receive primary

      medical care from Hudson Headwaters Health Network at the Moriah Health

      Center located at 33 Tom Phelps Lane, Mineville, New York, by and through its

      agents, servants, employees, associates, subcontractors and/or other designees,

      including Christopher Wolfe RPA-C and Richard McKeever, M.D. until on or

      about March 23, 2017.     During this time period nothing was done to evaluate

      Ms. Patnode-Michener's left lung nodule.

39.   On or about July 9, 2019, Brandy Patnode-Michener was informed by an

      acupuncturist/ obstetrician gynecologist that a previous CT scans demonstrated a

      left lower lobe nodule.

40.   On August 13, 2019, the left lung nodule was biopsied. The pathology results

      demonstrated that the nodule was malignant. On or about September 3, 2019

      Brandy Patnode-Michener was diagnosed with Stage IV lung cancer.

41.   Defendants, by and through Hudson Headwaters Health Network's officers,

      agents and/or employees, physicians and medical personnel were negligent and

      deviated from the accepted standards of medical care with regard to plaintiffs'




                                          7
      Case 8:21-cv-00846-GLS-DJS Document 1 Filed 07/27/21 Page 8 of 13




      decedent, Brandy Patnode-Michener.

42.   Christopher Wolfe RPA-C and Richard McKeever, M.D. negligently failed to

      properly act upon and understand the significance of plaintiffs' decedent, Brandy

      Patnode-Michener's September 9, 2014 CT scan and discharge summary,

      specifically that she had a lung nodule.

43.   Christopher Wolfe RPA-C and Richard McKeever, M.D. negligently failed to

      properly and timely diagnose Ms. Patnode-Michener's lung cancer.

44.   Christopher Wolfe RPA-C and Richard McKeever, M.D. negligently allowed Ms.

      Patnode-Michener's cancer to progress to a metastatic and uncurable stage.

45.   Christopher Wolfe RPA-C and Richard McKeever, M.D. negligently failed to

      properly and timely treat Ms. Patnode-Michener's lung cancer.

46.   Christopher Wolfe RPA-C and Richard McKeever, M.D. negligently failed to

      timely refer Ms. Patnode-Michener to a proper medical specialist, including a

      pulmonologist.

47.   Christopher Wolfe RPA-C and Richard McKeever, M.D. negligently failed to

      properly and timely order diagnostic testing, including, but not limited to chest CT

      scans on plaintiffs' decedent, Brandy Patnode-Michener.

48.   Christopher Wolfe RPA-C and Richard McKeever, M.D. negligently failed to

      properly and timely order and conduct a lung biopsy following plaintiffs' decedent,

      Brandy Patnode-Michener's October 2014 office visit.

49.   Christopher Wolfe RPA-C negligently failed to have a physician timely and fully

      evaluate plaintiffs' decedent, Brandy Patnode-Michener on or immediately

      following her October 2014 office visit.




                                            8
      Case 8:21-cv-00846-GLS-DJS Document 1 Filed 07/27/21 Page 9 of 13




50.   Christopher Wolfe RPA-C failed to timely consult with a physician regarding

      plaintiffs' decedent, Brandy Patnode-Michener's condition, especially given the

      patient's abnormal CT scan results.

51.   Christopher Wolfe RPA-C and Richard McKeever, M.D. negligently failed to fully,

      properly and timely assess plaintiffs' decedent, Brandy Patnode-Michener's lung

      cancer.

52.   That as a result of the negligence of Hudson Headwaters Health Network through

      its agents, servants, employees, physicians, physicians assistants, associates,

      subcontractors, principals and/or other designees, including Christopher Wolfe

      RPA-C and Richard McKeever, M.D., the plaintiffs' decedent was not timely

      diagnosed and/or appropriately treated for lung cancer.

53.   That as a result of the negligence of Hudson Headwaters Health Network through

      its agents, servants, employees, physicians, physicians assistants, associates,

      subcontractors, principals and/or other designees, including Christopher Wolfe

      RPA-C and Richard McKeever, M.D., the plaintiffs' decedent was not diagnosed

      with lung cancer until September 2019.

54.   That as a result of the negligence of Hudson Headwaters Health Network through

      its agents, servants, employees, associates, subcontractors, principals and/or other

      designees, including Christopher Wolfe RPA-C and Richard McKeever, M.D., the

      plaintiffs' decedent died of metastatic lung cancer on May 28, 2020.

55.   One or more of the exceptions set forth in CPLR Section Sixteen Hundred Two

      applies to this action or claim for damages, including, but not limited to the "non-

      delegable duty" and "respondeat superior" liability provisions of §1602(2).




                                            9
      Case 8:21-cv-00846-GLS-DJS Document 1 Filed 07/27/21 Page 10 of 13




              AS AND FOR A FIRST CLAIM AGAINST THE DEFENDANT




56.    Plaintiffs repeat and reallege all of the allegations in this Complaint marked and

       designated "1" through "55" with the same force and effect as if herein set forth at

       length, and further allege that:

57.    That the defendant, individually and/or jointly and severally and/or collectively

       and/or acting through its agents, servants, employees, associates and/or

       contractors, carelessly and negligently rendered medical care and treatment to

       the plaintiffs' decedent, Brandy Patnode-Michener, which was not in accordance

       with good and accepted medical practices and/or said defendant failed to provide

       her with medical care and treatment that was within the boundaries of good and

       accepted standards.

58.    That by reason of the negligence of the defendant, individually and/or jointly and

       severally and/or collectively and/or through its agents, servants, employees,

       associates and/or contractors, plaintiffs' decedent, Brandy Patnode-Michener was

       caused to sustain severe, catastrophic and irreparable physical and mental injuries

       and damages, as well as conscious physical and mental pain and suffering.

59.    That by reason of the above, the plaintiffs' decedent, Brandy Patnode-Michener

       has been damaged in a sum of money having a present value of up to Four Million

       and 00/100 Dollars ($4,000,000.00).

            AS AND FOR A SECOND CLAIM AGAINST THE DEFENDANT




                                             10
      Case 8:21-cv-00846-GLS-DJS Document 1 Filed 07/27/21 Page 11 of 13




60.    Plaintiffs repeat, reiterate and reallege each and every allegation of this complaint

       marked and designated "1" through "55", and "56" through "59", with the same

       force and effect as if more fully set forth here and further allege:

61.    As a result of the injuries suffered by the plaintiffs' decedent, Brandy Patnode-

       Michener, she died on May 28, 2020.

62.    By reason of the aforesaid, the plaintiffs' decedent, Brandy Patnode-Michener,

       and her distributees have been damaged by reason of her wrongful death in a sum

       of money having a present value of up to Four Million and 00/100 Dollars

       ($4,000,000.00).

              AS AND FOR A THIRD CLAIM AGAINST THE DEFENDANT



63.    Plaintiffs repeat, reiterate and reallege each and every allegation of this complaint

       marked and designated "1" through "55", and "56" through "59", and "60" through

       "62" with the same force and effect as if more fully set forth here and further allege:

64.    At all times material hereto, plaintiff, James Michener, was the lawful husband of

       the plaintiffs' decedent, Brandy Patnode-Michener.

65.   As the husband of Brandy Patnode-Michener, plaintiff, James Michener was

      entitled to the services, society and companionship of his wife.

66.    By reason of the facts aforesaid plaintiff, James Michener, has been, and in the

       future will continue to be, deprived of the services, society and companionship of

       Brandy Patnode-Michener, his wife.




                                               11
      Case 8:21-cv-00846-GLS-DJS Document 1 Filed 07/27/21 Page 12 of 13




67.    By reason of the foregoing, plaintiff, James Michener, has been damaged in a sum

       of money having a present value of up to One Million and 00/100 Dollars

       ($1,000,000.00).

       WHEREFORE, Plaintiffs demand judgment against the defendant:

A      On the First Cause of Action, in a sum of money having a present value of up to

       Four Million and 00/100 Dollars ($4,000,000.00);

B.     On the Second Cause of Action, in a sum of money having a present value of up to

       Four Million and 00/100 Dollars ($4,000,000.00);

C.     On the Third Cause of Action, in a sum of money having a present value of up to

       One Million and 00/100 Dollars ($1,000,000.00);

D.     Together with the costs and disbursements of this action.



DATED: July 27, 2021


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                                            12
     Case 8:21-cv-00846-GLS-DJS Document 1 Filed 07/27/21 Page 13 of 13




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

Carol Patnode, as Executrix of the Estate of
Brandy Patnode-Michener and James Michener,               CERTIFICATE OF MERIT

                   Plaintiffs,                            Civil Action No:

      vs.

United States of America,

                   Defendant.



Amber L. Wright, an attorney duly licensed to practice law in the State of New York hereby

affirms, pursuant to Section 2106 of the CPLR, the following:

        1. I have reviewed the facts of this case and have consulted with at least one

doctor whom I believe is knowledgeable in the relevant issues and I have concluded that

there is a reasonable basis for this action.

        2. That this certification is being made pursuant to Section 3012-a (a) (1) of the

CPLR.

DATED: July 27, 2021




                                               13
